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IN THE UNITED DISTRICT CoURT 05 P _
FOR THE wEsTERN DISTRICT or TENNESSEE *W 2 6 air 'f~' q

 

WESTERN DIVISION
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(`.!F£;=;<j er o S- q,T
MARY T. GODWIN, ) W.D. OF TN MLN¢PH!S
)
Plaintiff, )
) No. 02-2532 D/An
V. )
)
CHARLES P. BAKER )
d/b/ a BAKER PROPERTIES )

 

ORDER GRANTING PLAINTIFF'S MOTION
FOR CONTINUANCE OF SHOW CAUSE HEARING

 

This matter came before the Court upon the Motion of counsel for the Plaintiff and the
entire record herein.

lt appearing that there is good cause to grant the Motion for the reasons stated therein.

IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the Show Cause `
Hearing currently Scheduled in this action shall be re-set for mazur / {,‘, QOdJ/

@ q¢, ¢/$'p. M in Courtroom M-3, 9“‘@001', Federal Building,

Memphis, 'l`ennessee. At the hearing, Defendant should be prepared to show cause as to why
Plaintiff should not be awarded fees and expenses and to show cause as to Why Defendant should

not be held in contempt for the failure to comply With the Court's January 12, 2005 Order.

MM

UNI"ED STATES MAM IUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
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Charles P. Baker
6590 Pidgeon Hall Dr.
l\/lemphis7 TN 38119

Thornas Lang Wiseman
WISEMAN BIGGS BRAY PLLC
1665 Bonnie Lane

Ste. 106

l\/lemphis7 TN 38016

John Hale Freeland

MARKOW WALKER & REEVES, P.A.

P.O. DraWer 50
OXford, MS 38655

Honorable Bernice Donald
US DISTRICT COURT

